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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  ____________________________________
  Boimah Flomo, et al.                 )
                                       )
  Plaintiffs,                          )
                                       )                CASE NO.: 1:06-cv-00627-JMS-TAB
  v.                                   )
                                                     The Motion is DENIED. Whether or not the
                                       )
  Firestone Natural Rubber Co.         )             ATS precludes corporate liability, the Court has
                                       )             concluded, for the reasons issued in its
  Defendant                            )             supplemental opinion, that summary judgment
  ____________________________________)              here must issue. -- JMS, DJ, 10/19/10


     PLAINTIFFS’ MOTION FOR RECONSIDERATION OR, IN THE ALTERNATIVE,
      MOTION TO STAY THE PROCEEDINGS PENDING A FINAL RULING IN THE
                             SECOND CIRCUIT

         On October 5, 2010, this Court issued an order in which it adopted the Second Circuit’s

  recent ruling in the Kiobel v. Royal Dutch Petroleum Co., 2010 U.S. App. LEXIS 19382 (2d Cir.

  2010) and held that Defendant Firestone Natural Rubber Company cannot be held liable under

  the Alien Tort Statute (“ATS”) because it is a corporation. See Dkt. 604, at 3-12. As Plaintiffs

  previously alerted the Court in their September 24, 2010 supplemental briefing on the issue of

  corporate liability, Dkt. 598, Plaintiffs-Appellants-Cross-Appellees’ counsel in Kiobel filed their

  Petition for Rehearing and Rehearing En Banc on Friday, October 15, 2010. The petition was

  supported by six detailed amici curiae briefs from human rights and labor organizations,

  professors of federal jurisdiction and legal history, international law scholars, and victims of

  international terrorism all of whom address errors in the panel’s decision in Kiobel and argue

  there is overwhelming legal support that corporations are liable under the ATS.

         Because the Court relied exclusively on the Second Circuit’s Kiobel decision in rendering

  its October 5, 2010 ruling, Plaintiffs submit the petition for rehearing en banc, along with the



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